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 7

 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA                     Case No. 2:15 CR-00234 JAM
12            Plaintiff,
13                                                STIPULATION & ORDER TO
14         vs.                                    VACATE AND CONTINUE JUDGMENT
                                                  AND SENTENCING
15
     STEVEN MARCUS,
16

17         Defendant.

18

19

20
           Plaintiff, United States of America, by and through its counsel, Assistant United
21
     States Attorney Todd Pickles, Esq., and defendant Steven Marcus, by and through his
22
     attorney of record, Donald H. Heller, Esq, agree and stipulate to vacate the existing date
23

24   for Judgment and Sentencing of July 11, 2017, and to continue Judgment and

25   Sentencing to October 3, 2017 at 9:15 a.m. The reason for the continuance is to permit

26   the parties can present additional information to the Court for sentencing purposes.
27         The parties to this stipulation request this Court to accept and adopt this
28
                                                 1
                                                              Case No. 2:15 CR-00234 JAM.
        Case 2:15-cr-00234-JAM Document 91 Filed 07/11/17 Page 2 of 2


 1   stipulation.
 2   Dated: July 10, 2017                     /s/ Donald H. Heller
 3
                                              DONALD H. HELLER
 4                                            Attorney for Defendant
                                              Steven Marcus
 5

 6
                                              /s/ Todd Pickles by Donald Heller with
 7                                            authorization

 8                                            TODD PICKLES
                                              Assistant U.S. Attorney
 9                                            Attorney for the Government
10

11
                                              ORDER
12

13          Based on the representations and stipulation of Counsel, IT IS HEARBY
14
     ORDERED that:
15
            1.      The Judgment and Sentencing Hearing for defendant Steven Marcus on
16
     July 11, 2017, is VACATED; and,
17

18          2.      Judgment and Sentencing for Steven Marcus is reset for October 3, 2017,

19   at 9:15 a.m.

20          IT IS SO ORDERED.
21   Dated: 7/10/2017
22

23
                                                    /s/ John A. Mendez___________
24                                                  JOHN A. MENDEZ
                                                    United State District Court Judge
25

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                                                2
